Case 4:09-cv-00030-A Document1 Filed 01/14/09 Pagelof22 PagelID1

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION

CINDY LYNN COLBERT, §
F/K/A CINDY LYNN COLAO, §
§
Plaintiff, §
§

V. § CIVIL ACTION NO.;
§
PENNCRO ASSOCIATES, INC., §
§
Defendant. §

DEFENDANT’S NOTICE OF REMOVAL
Defendant, PENNCRO ASSOCIATES, INC., files this Notice of Removal of Cause
No.096-234219-08, styled Cindy Lynn Colbert, f/k/a Cindy Lynn Colao v. Penncro

th

Associates, Inc., from the 96" Judicial District Court of Tarrant County, Texas to the United

States District Court for the Northern District of Texas, Fort Worth Division as follows:
A. Background and Facts

1. On or about December 4, 2008, Plaintiff, Cindy Lynn Colbert. (“Plaintiff’)
filed her Plaintiffs Original Petition against Defendant, Penncro Associates, Inc. in the 96™
Judicial District Court of Tarrant County, Texas. A true and correct copy of Plaintiff's
Original Petition is attached hereto and incorporated herein by reference as Exhibit “A.” In
her Original Petition, Plaintiff secks damages for alleged violations of the Fair Credit
Reporting Act (15 U.S.C., § 1681, et. seq.), Chapter 392 of the Texas Finance Cade, the
Common Law Tort of Unreasonable Collection and, Invasion of Privacy as a result of

Penncro’s attempt to collect a consumer debt belonging to “Cindy Lynn Colbert, f/k/a Cindy
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page 2of22 PagelD 2

Lynn Colao” in violation of a discharge order issued by the United States Bankruptcy Court
for the Northern District of Texas , Case number 06-34334-blh. The Plaintiff did not include
a jury demand in her Original Petition.

2. In accordance with 28 U.S.C., §1446(a), Penncro is also attaching copies of
the following pleadings filed in the state court cause of action and attached hereto as: Exhibit
“A” - Plaintiff's Original Petition, filed on December 4, 2008; Exhibit “B” - Citation issued
in the state action on December 15, 2008 and which was returned on December 22, 2008;
Exhibit “C” - Defendant’s Original Answer, filed by certified mail on December 23, 2008;
The parties have not exchanged any discovery at this time.

3, Defendant received Plaintiffs Original Petition on December 15, 2008 via
first class mail to its registered agent. Accordingly, Defendant 1s filing this notice of removal
within the 30-day time period required by 28 U.S.C., §1446(b),

B. Basis for Removal - Federal Question

4, This cause is removable on the basis of federal question jurisdiction, Plaintiff
asserts in her Original Petition that Defendant violated various sections of a federal statute,
the Fair Credit Reporting Act 15 U.S.C. §1681 ef seg. (“FCRA”). See Plaintiff's Original
Petition, paragraphs 29, 29, 30, 31, 32, 33, and 34. Therefore, this Court has jurisdiction
pursuant to 28 U.S.C. §1441(b) because Plaintiff has asserted claims arising under the laws of
the United States.

5. Penncro is the only Defendant made a part of this action.

6. Venue is proper in this district under 28 U.S.C. §1441(a) because this district

and division embrace the place where the removed action has been pending.
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page 3of 22 PagelD 3

7. Defendant will promptly file a copy of this notice of removal with the clerk of
the state court where the action has been pending.

WHEREFORE, PENNCRO ASSOCIATES, INC. gives notice that Cause No, 096-
234219-08 in the 96” Judicial District of Tarrant County, Texas is hereby removed from the
state court to the United States District Court for the Northern District of Texas, Fort Worth
Division, and Defendant prays for such other and further relief to which it may show itself to

be justly entitled to receive.

Respectfully submitted,

BARRON, NEWBURGER, SINSLEY & WIER, PLLC

By: _//s// Ed Walton
Ed Walton; SBN: 20828550
Keith Wier; SBN: 21436100
Fed. ILD. 7930
101 Metro Drive, Suite A
Terrell, Texas 75160
Telephone: (972) 499-4833
Facsimile: (972) 563-1598

ATTORNEYS FOR DEFENDANT,
PENNCRO ASSOCIATES, INC.
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page4of22 PagelD4

CERTIFICATE OF SERVICE

I hereby certify that on the 14™ day of January, 2009, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will send notification of
such filing to the following:

William F.. Manchee Via Facsimile 972.233.0713
MANCHEE & MANCHEE, LLP

12221 Merit Drive, Suite 950

Dallas, Texas 752451

Hs! Ed Walton
Ed Walton
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page5of22 PagelID5

   

 

 

CAUSE NO, *
CINDY LYNN COLBERT g IN THE DISTRICT COURT
-FK/A CINDY LYNN COLAO § sO
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Plaintiff § TH YUDICIAL DISTRICT
VE. § . im
PENNCRO ASSOCIATES, INC, § Ste

Defendant g§ TARRANT COUNTY, TEXES”

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PLAINTIFE'S ORIGINAL PETITION

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TO THE HONORABLE JUDGE OF SAID COURT:

vB,
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COMES NOW, Plaintiff, CINDY LYNN COLBERT, F/K/A CINDY LYNN COLAO,
A/KIA CINDY LYNN MARTIN (Ms. Colbert" or “Plaintiff’), and complains of Penncro
Associates, Inc., (Pennero), the Defendant, and respectfully shows the following:
I. INTRODUCTION

1, This is an action for actual damages, punitive damages, mnyunctive relief, legal fees and
expenses filed by the Plaintiff for the Defendant’s violation of the Texas Finance Code,
unreasonable collection, invasion of privacy, and for actual and statutory damages for the
willful, knowing, and/or negligent violation of Chapter 41, the Consumer Credit Protection
Credit Act, of Title 145 (Commerce and Trade) of the United States Code, specifically, 15 U.S.C.
§1681 et seq., (known as the “Fair Credit Reporting Act”, hereafter the “F'CRA”) which relates

to the dissemination of consumer-credit and other financial information.

iL. PARTIES

2, The Plaintiff is a natural person residing in Tarrant County, Texas and she is #

“consumer” as defined by Tex. Finance Code §392.001(1) and the FCRA.

Plaintiff's Original Petition - Page 1

 

 
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page 6of22 PagelD 6

, 4. The Defendant is a foreign limited ability company who may be served by serving its

- vepitred agent, CT Corporation System, 305 N, St, Pant St... Dallas. TX 75201:"

4. After a , reasonable opportunity for further investigation and discovery Ms. Colbert savs
that she will have evidentiary support to show that Defendant is a furnisher of consumer credit
information to Equifax, Inc., Experian Information Systems, Inc., and TransUnion.

Ii. JURISDICTION AND VENUE

5. The Defendant is a "debt collector" as defined by Tex. Fin. Code § 392.001(6) and the
FCRA.,

6. Venue is proper in Tarrant County, under Texas Civil Practice & Remedies Code
Section 15.017 because the Plaintiff resides in Tasrant County when this claim accrued,

TV. DISCOVERY PLAN

7, Pursuant to Texas Rule of Civil Procedure 190.4, Plamtiff asserts that this suit should

be designated levei 2 for the purposes of a discovery comtrol plan.
VV. FACTUAL ALLEGATIONS

8. Plaintiff filed bankruptey and was discharged on January 3, 2007 with the Defendant
receiving a copy of the discharge order. The case number was 06-34334-bjh7 and it was filed in
the Northern District of Texas Bankruptcy Court.

9. The Victoria's Secret asserted a pre-petition claim against Ms. Colbert m an attempt to
collect a consumer debi allegedly owed by Piaintiffi The debt was later assigned to Defendant
either directly or through World Financial Network National Bank. The debt required Ms.
Colbert to pay money arising out of transactions in which money, property, insurance, or
services were the subject thereof and the same were primarily for personal, family, or househoid
purposes. The claim was listed on Schedule “F”, as a general unsecured claim.

Plaintiffs Original Petition - Page 2
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page 7of22 PagelD7

10. On October 5, 2006, Ms. Colbert filed 4 mailing matrix with the Bankruptey Court
that provided Victoria Secrei’s correct address. | |

11, On or about October 5, 2006, the Clerk of the Bankruptcy Court for the Norther
District of Texas, mailed out the “Notice of Chapter 7 Bankrupicy Case, Meeting of Creditors
and Deadlines” to all creditors, including Victoria Secret, and other parties based on the mailing
matrix previously filed the Bankruptcy Court. This mailing constituted formal notice to
Victoria’s Secret of the above Chapter 7 Bankruptcy. This notice warned all creditors, including
the Defendant, in conspicuous language, against viclating the automatic stay pursuant to 11
U.S.C. §362, The United States Postal Service did not return the notice sent to Victoria’s Secret.
The notice was not returned. If the United States Postal Service has not returned the notice,
there is a presumption that the addressee received the notice mailed to it by the Clerk of the
Bankruptcy Court.

12. On January 3, 2007, the Bankruptcy Court issued an order granting Ms. Colbert a
discharge (the said order followed Official Form B18, including the explanatory language
contained therein). The order discharged Ms. Colbert from any Hability for the pre-petition
claim. Included with this order was an explanation of the general injunction prohibiting the
Defendant and others holding pre-petition claims from attempting to collect the claims from Ms.
Colbert.

13, On January 6, 2007, the order discharging Ms. Colbert was mailed out to all creditors
and other parties listed on the mailing matrix previously filed the Bankruptcy Court. This
mailing constituted formal notice of Ms. Colbert’s discharge and the replacement of the
automatic stay with the discharge injunction of 11 U.S.C. §524(a). The order and notice warned
all creditors mcluding the Defendant, in conspicuous language, that collection of discharged

Plaintiff's Original Petition - Page 3
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page 8of22 PagelD 8

ebts was prohibited. The notice was not retumed. If the United States Postal Service has not
retumed the notice, there is a presumption that the addressee received the notice mailed to it by
the Clerk of the Bankruptcy Court. The Discharge order is attached herein as “Exhibit A” and is
incorporated herein by reference.

i4, At no time has Victoria’s Secret or Defendant objected to or disputed the details of
the claim in the October 5, 2006, schedules. At no time during the Chapter 7 case did Ms.
Colbert reaffirm the debt. At no time during the Chapter 7 case was the pre-petition claim
declared to be non-dischargeable,

_ 13, Following the January 3, 2007 discharge, ihe Defendant engaged in debt collection
activity against Ms. Colbert by accepting the account for collection from Victoria’s Secret or
World Financial Network National Bank and,

a. On one or more occasions after the discharge, in connection with an effort to collect
the discharge debt, Penncro requested and obtained Plaintiffs consumer report from one or more
consumer reporting agencies. At the time Defendant requested, obtained and used Plainiiff’s
consumer report as above described, no permissible purpose as required by Section 1681b of the
FCRA existed; and

b, On October 10, 2008 and again on October 13, 2008 Defendant sent written demands
for payment in an attempt to collect the discharged debt. The discharge extinguished
Defendant’s right to collect the account and Plaintiff's legal obligation to pay it. The
bankruptcy discharge changed the legal status of the account by making it a non-recourse
liability, Once the Defendant received notice of the bankruptcy discharge and the resulting
change in the legal status of the debi, the Defendant had no right to attempt to collect it. Copies
of the demands for payment are attached hereto as Exhibits “B” and “C.”

Plaintiff's Original Petition - Page 4
Case 4:09-cv-00030-A Document1 Filed 01/14/09 PageQ9of22 PagelID9

VL DAMAGES |

16. Plaintiff has or will face credit denials and higher costs in many types of consumer
transactions because the Defendants improper reviews of her credit reports, Furthermore, the
attempts to collect her discharged debt, violations of the Texas Finance Code, unreasonable
collection and invasions of her privacy caused plaintiff to suffer embarrassment mental anguish,
inconvenience, and other pecuniary and non-pecuniary damages.

17. After a reasonable opportunity for further investigation and discovery, says that she
will have evidentiary support to show that the FICO® scoring models continue to penalize the
“debtors” such as Plaintiff for illegal and defamatory reporting and credit pulls such as the
Defendant’s actions that are the subject of this complaint.

18. Due to Defendant’s conduct, Plaintiff was forced to hire counsel and her damages
include reasonable attorney’s fees incurred in prosecuting this claim.

19, The violations of the Tex. Fin. Code §§ 391.002, Tex. Fin. Code § 392.301 (a)(8),
Tex. Fin, Code § 392.304(a)(8), and Tex, Fin. Code § 392.304(a)(19) are ongoing in nature,
Defendant is liable for any and all fitture harm suffered by Plaintiff as 2 result of Defendant’s
conduct,

VOL GROUNDS FOR RELIEF - COUNT 1
TEXAS FINANCE CODE
20, Ms. Colbert repeats, re-alleges, and incorporates by reference paragraphs 7 through

19.

21, The Defendant’s violations of the Texas Finance Code, include, but are not limited to

the following:

Plaintiff's Original Petition - Page 5
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page 10of22 PagelD 10

22. In violation of Tex. Fin. Code § 392.304(a\(8), the Defendant misrepresented the

character of a consumer debt; and/or

23, In violation of Tex. Fin. Code § 392.304(aj}(19), the Defendant used false

representations or deceptive means to collect a debt.

24, Tex. Fin. Code § 392,301(a\(8) prohibits the Defendant from taking an action
prohibited by law,

25. Under Tex. Fin. Code Ann. § 392.403, the said violations renders the Defendant
lable to Plaintiff for actual damages, statutory damages, for injunctive relief, costs, and,
reasonable attorney's fees.

26, The above Texas Finance Code provisions are not preempted by the Fair Credit
Reporting Act, Maloney v. LYNY LLC, Slip Copy, 2006 WL 3006484, N.D. Tex., October 20,
2005 (NO.CIV.A.3:06-CV-0452)}.

XL GROUNDS FOR RELIEF - COUNT IY.
COMMON LAW TORT OF UNREASONABLE COLLECTION

27, Ms. Colbert repeats, re-alleges, and incorporates by reference paragraphs 7 through
19. The above described debt collection efforts of Defendant constitutes a pattern of harassment
that is willful, wanton, malicious, and intended to inflict mental anguish.

AIL GROUNDS FOR RELIEF COUNT V
VIOLATION OF THE FCRA
28 Plaintiff restates and reiterates herein all previous paragraphs
29. The actions of Penncro as above described violated the FCRA in that it requested,

obtained and used Plaintifi’s consumer report without a permissible purpose.

Plaintiffs Original Petition - Page 6
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page11of22 PagelD 11

30, Pursuant to 15 U.S.C. §1681o, any person who is negligent in failing to comply with
any requirement imposed under the FCRA with respect to any consumer is Hable to that
consumer in an amount equa! to the sum of (PD) any actual damages sustaied by the consumer as
a result of the failure and (ii) in the case of any successful action to enforce any liability under 15
U.S.C. §168 10, the costs of the action together with reasonable attorneys’ fees.

31 Pursuant to 15 U.S.C. §1681n, any person who willfully fails to comply with any
requirement imposed under the FCRA with respect to any consumer is liable to that consumer in
an amount equal to the sum of (1) any actual damages sustained by the consumer as a result of
the failure or damages of not less than $100.00 and not more than $1,000.00; Gi) such amount of
punitive damages as the court may allow; and (iii) in the case of any successful action to enforce
any liability wider 15 U.S.C. §1681n, the costs of the action tegether with reasonable attorneys’
fees.

32. Pursuant to 15 U.S.C. §16814q, it is unlawful for any person to knowingly and wilfully
obtain information on a consumer from a consumer reporting agency under false pretenses,

33. The Defendant’s failure to comply with the FCRA as above described was willful, as
contemplated under 15 U.S.C. §1681n of the FCRA, entitling Plaintiff to the remedies set forth
therein. In addition, defendants actions constituted the knowing and willful acquisition of
information on a consumer from a consumer reporting agency under false pretenses, entitling the
Plaintiff to the remedies permitted under law for vioiation thereof,

34. In the alternative, the Defendant’s failure to comply with the FCRA as above

described was negligent, as contemplated under 15 U.S.C. §168lo of the FCRA, entrtling

Plaintiff to the remedies set forth therein,

Plaintiff's Original Petition - Page 7
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page12o0f22 PagelD 12

XIEL GROUNDS FOR RELIEF COUNT VI
INVASION OF PRIVACY
laintiff restates and reiterates herein all previous paragraphs.
enncro’s conduct, as described herem, constituted an invasion of Plaintiff's solitude and _
seclusion which was offensive to any person of ordinary sensibilities, Said invasion was an
unreasonable tnirusion into the private life and matters of Plamtiff, and has damaged Plaintiff.
Pennero’s conduct, as described herein, constitutes an unlawtal and actionable invasion
of Plaintiff's privacy, which conduct has damaged Plaintiff, entitling Plaintiff to an award of
damages, compensatory and punitive, against Asset.
WHEREFORE, PREMISES CONSIDERED, Plaintiff, Ms. Colbert, prays that the Court
will:
A. Enter judgment in favor of Ms. Colbert and against Penncro for statutory damages,
actual damages, costs, pre and post judgment interest, and reasonable atiormeys' fees as provided
by Tex. Fin. Code Ann, § 392.403:
B. Award punitive damage not less than three times the actual damages, including attorneys’
fees, costs and expenses awarded in this case;
Cc. Declare that the Defendant’s actions violate the Texas Finance Code;
Dd. Enjoin the Defendant’s actions which violate the Texas Finance Code; Award to plainiiff,
and for the benefit of the undersigned attorneys, all of the attorneys’ fees, costs and expenses
incurred in representing in these matters;
E. Award plaintiff her damages under the FCRA.
F, Award plaintiff her damages for invasion of privacy.
G. Award plaintiff pre~judgment interest as allowed by law.

Plaintiffs Original Petition - Page &
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page13o0f22 PagelD 13

H.

herself justly entitled.

Plaintiff's Original Petition - Page 9

Grant such other and further relief, in equity or in law to which Ms, Colbert might show

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Wiltim LS Manchee

James I, Manchee {
State Bar Number 00796988

Manchee & Manchee, LLP
1222] Merit Drive, Suite 950
Dallas, Texas 75251

(972) 960-2240 (telephone)
972-233-0713 (fax)
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page14of22 PagelD 14

   

THE STATE OF TEXAS
DISTRICT COURT, TARRANT COUNTY

CITATION Cause No. 096-234219-08

CINDY LYNN COLBERT ¥S8. PENNCRO ASSOCIATES, INC.

TO: PENNCRO ASSOCIATES INC, G/S CT CORPORATION SYSTEH

305 N ST PAUL st

DALLAS, Tx 75201-

You said DEFENDANT are hereby commanded to appear by filing 2 written answer to the PLAINTIFF'S ORIGINAL PETITION
at ox before 10 o'clock A.M. of the Monday mext after the expiration of 20 dave after the cate of service hereof
before the 96th District Court in and for Yarrant County, Texas, at the Courthouse in the City of Fert Worth,
Tarrant County, Texas ecald PLAINTIFF being

CINDY LYNN COLBERT

‘fied ip said Court an December 4th, 2008 Against
PENNCRO ASHOCIANGES INf.

For suit, gaid suit being numbered 096-234219-G8 the mature of which demand is ab shown on said
PLAINTIFF'S ORISINAL PETITTON a copy of which accomparnien thie citation,

WELLIAM L. MANCHEE
Attorney for CINDY LYNN COLBERT Phane No. (972)960-2240
Address 12221 MERIT DR, STH 950 DALLAS, TX 75251
Thomas &, Wiider , Clerk of the District

Gourt of Tarrant Counry, Texas. aver under my hand and the seal

  

of aeid Court, at office in the City of Fort Worth, this the December Sth, 2008 on,

os Sey SAA

{ sunt cures
NOTICE: You have heen sued. You may amoloy an attorney. If you or your dctorney % not £lle a written answer with the
¢lerk who issued this citabion by 10:09 AM, on the Monday meat following ‘thee
served this citation

aoe
LA a Deputy

3Yection of cwenty days after you were
and perition, a default judament may be taken against you.
Thomas.A. Wilder, Tarrant County District Clerk
401 W BELENAP
Fort Worth, Teaas 76196-0402

OFFICER'S RETURN
Received ¢hig Gitation on the day of : an Clock OM; and execured at

within the county of

 

 

 

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on the day of _ by mailing no the within named

 

 

 

e true copy of this Citation together with the accompanying copy of PLAINTIFF'S ORIGINAL FETITIOR having

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endoraed on same the date af delivery.

 

 

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County of State cf
By Deputy

Fees ¢

 

(Muse be verified if served ourside the State of Texas)

 

 

 

 

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go Certify which withese my hand and seal cf office
(Seal)
County of , State of

EXHIBIT

   
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page15o0f22 PagelD 15

CAUSE NO. 096-23421-9-08

CINDY LYNN COLBERT, § IN THE DISTRICT COURT
F/K/A CINDY LYNN COLAO §

Plaintiff, :
Vv. : TARRANT COUNTY, TEXAS
PENNCRO ASSOCIATES, INC., : |

Defendants. : 96™ JUDICIAL DISTRICT

DEFENDANT PENNCRO ASSOCIATES, INC.’S
ORIGINAL ANSWER AND REOUEST FOR DISCLOSURE

TO THE HONORABLE JUDGE OF THIS COURT:

COMES NOW, PENNCRO ASSOCIATES, INC., Defendant in the above-entitled and

numbered cause, and in answer to Plaintiffs Original Petition would respectfully show unto the

Court as follows:

1. Defendant denies each and every, all and singular, the allegations in Plaintiffs

Original Petition, says that the allegations therein are not true, either in whole or in part, and

demands strict proof thereof.

2. Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintrff is requested

to disclose within 30 days after service of this request, the information or material described in
Rule 194.2.

WHEREFORE, PREMISES CONSIDERED, Defendant PENNCRO ASSOCIATES,
INC. prays that Plaintiff take nothing by reason of this suit, that Defendant be discharged and go
hence without costs, without day, and for all such other and further relief, both general and

special, at law and in equity, to which this Defendant may show itself justly entitled.

_ Ce,

  
   

  
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page16o0f22 PagelD 16

Respectfully submitted,

BARRGN, NEWBURGER, SINSLEY & WieR, PLLC

<a ln

” Keith Wier, S¥N:21436108 ~
Capital One Plaza

5718 Westheimer, Sutte 1755
Houston, Texas 77057

(713) 335-0141 Telephone
(713) 335-0156 Facsimile

ATTORNEYS FOR DEFENDANT
PENNCRO ASSOCIATES, INC.

CERTIFICATE OF SERVICE

L hereby certify that a true and correct copy of the above and foregoing has been

forwarded to all counsel of record via facsimile, and/or by certified mail, return receipt
requested on this the 23" day of December, 2008, as follows:

William L. Manchee Via Facsimile 972.233.0713
MANCHEE & MANCHER, LLP

12221 Merit Drive, Suite 950

Dallas, Texas 75251

  

 
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page17of22 PagelD 17

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION

CINDY LYNN COLBERT, §
F/K/A CINDY LYNN COLAQ, §
§
Plaintiff, §
§

Vv. § CIVIL ACTION NO.:
§
PENNCRO ASSOCIATES, INC., §
§
Defendant. §

INDEX OF DOCUMENTS FILED
WITH NOTICE OF REMOVAL OF ACTION

Name of Document Date filed
(A) Plaintiff's Original Petition 12/4/08
(B) Citation 12/22/08

(C)  Defendant’s Original Answer 12/23/08
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page18o0f22 PagelD 18

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

FORT WORTH DIVISION
_ CINDY LYNN COLBERT, §
F/K/A CINDY LYNN COLAO, §
Plaintiff, ;
V. : CIVIL ACTION NO.:
PENNCRO ASSOCIATES, INC., :
Defendant. :

LIST OF COUNSEL OF RECORD

William L. Manchee; SBN: 12891200
MANCHEE & MANCHEE, LLP

12221 Merit Drive, Suite 950

Dallas, Texas 75241

(972) 960-2240 Telephone

(972) 233-0713 Facsimile

ATTORNEYS FOR PLAINTIFF,
CINDY LYNN COLBERT,
F/K/A CINDY LYNN COLAO

. Ed Walton; SBN: 20828550

Keith Wier; SBN; 21436100

Fed. LD. 7930

BARRON, NEWBURGER, SINSLEY & WIER, P.L.L.C.
101 Metro Drive, Suite A

Terrell, Texas 75160

(972) 499-4833 Telephone

(972) 563-1598 Facsimile

ATTORNEYS FOR DEFENDANT,
PENNCRO ASSOCIATES, INC.
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page19o0f22 PagelD 19

Respectfully submitted,
BARRON, NEWBURGER, SINSLEY & WIER, P.L.L.C.

“stl Ed Walton

Ed Walton; SBN: 2082855

Keith Wier; SBN: 21436100

101 Metro Drive, Suite A

Terrell, Texas 75160

Telephone: (972) 499-4833
Facsimile: (972) 563-1598
ATTORNEYS FOR DEFENDANT,
PENNCRO ASSOCIATES, INC.

 

CERTIFICATE OF SERVICE

[hereby certify that on the 14” day of January, 2009, | electronically filed the foregoing with
the Clerk of Court using the CM/ECF system which will send notification of such filing to the
following:

William L. Manchee
MANCHEE & MANCHEE, LLP
12221 Merit Drive, Suite 950
Dallas, Texas 75251]

s/f kd Walton
Ed Walton
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page 20of 22 PagelD 20
JS 44 (Rev. 12/07) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither re ep ace nor supplement the filing and service of pleadings or other papers as requ uired by law, exeept as provided

by loeal rules of court. This form, approved by the Judicial Conference of the United States in September L974, is required for the use of the Clerk of Court for the purpose of initiating
the civil doeket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 

 

 

 

 

       

 

 

 

    

 

   
 
    

   

     
    

 

 

 

 

 

 

 

L. (a) PLAINTIFFS DEFENDANTS
CINDY LYNN COLBERT F/K/A CINDY LYNN COLAG PENNCRO ASSOCIATES, INC.
(b) County of Residence of First Listed Plaintiif Tarrant County of Residence of First Listed Defendant Buck
{EXCEPT IN U.S, PLAINTIFF CASES} (IN 1.8. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE.
LAND INVOLVED.
(c) Attomey’s (Finn Name, Address, and Telephone Number) Attorneys (If Known}

William L. Manchee, Manchee & Manchee, 12221 Merit Dr., Ste. Ed Walton, Barron, Newburger, Sinsley & Wier, PLLC, 101
9§50, Dallas, TX 75251 - (972) 960-2240 Metro Dr., Ste. A, Terrell, TX 75160 - (972) 499-4833 _E
IL BASIS OF JURISDICTION = (iace an“X” in One Box Only} HL CITIZENSHIP OF PRINCIPAL PARTIES¢lace an “X” in One Box for Plaintiff

{For Diversity Cases Only) and One Box for Detendant)
O11 US. Goverument 13 Federal Question PTF DEF PTF DEF
Plainuff (U.S. Government Not a Party} Citizen of This State Ad {4 Incorporated er Principal Place m4 a4
of Bnsiness Jn This State
O2 U.S, Govermnent O14 Diversity Citizen of Another State O 2 @ 2 Incorporated and Principal Place oO 5 5
Defendant (Indicate Citizenship of Parties tn Item IIT) of Business In Another State
Citizen or Subject ofa 3 © 3 Foreign Nation Oo6 O16
Foreign Country
IV. NATURE OF SUIT Place 3 an oe in gas. ox On
TRA in ORE ensmacraatf on t TUREPENALE
OF 110 Insurance PERSONAL INJURY PERSONAL INJURY = [C7 610 Agneulture (J 422 Appeal 28 USC 158 400 State Reapportionment
c) 120 Marine (310 Airplane 1 362 Personal Injury - GF 620 Other Food & Drug GF 423 Withdrawal O 410 Antitrust
O 130 Miller Act 1 315 Airplane Produet Med. Malpractice (3 625 Drug Related Scizure 28 USC [57 & 430 Banks and Bauking
0 £46 Negotiable Instuument Liability (J 365 Personal Injury - of Property 21 USC 881 O 450 Commerce
OF 150 Reeoyery of Overpayment |G 320 Assault, Libel & Product Liability (630 Liquor Laws __BROR d 40 460 Deportation
& Enforcement of Judgment] Siander C] 368 Asbestos Personal 0 640RR. & Thick 3 820 10 Copyrights OT 470 Racketeer Influenced and
CT 151 Medicare Act O 330 Federal Employers’ Injury Product 6 650 Airline Regs. O 830 Patent Corrupt Orgamizalions
152 Recovery of Defanlted Liability Liability 0 660 Ccenpational O 840 Trademark M480 Consumer Credit
Student Loans CF 340 Marine PERSONAL PROPERTY Safety/Health O 4906 Cable/Sat TV
(Exel, Veterans) 345 Manne Prodnet 1 370 Other Fraud [cf 690 Other CF 816 Selectve Service
O) 153 Reeovery of Overpayment Liability 37) Trath in Lending a AC ie ‘a SOU EAL f JO) 850 Securines/Commodines/
of Veteran's Benefits O 350 Motor Vehicle C1 380 Other Personal CF 730 Fair Labor Standards Oo ai AIA (13958) Exchange
0 160 Stockholders” Suits (3 355 Motor Vehicle Property Datnage Act 862 Blaek Lung (923) O 875 Cnstomer Challenge
T 19 Other Contract Product Liabiliry C} 385 Property Damage 4) 720 Labor/Mgint. Relations |9 863 DIWC/DIWW (405(g)) 12 USC 3410
1 195 Coniraet Product Ltability | 360 Other Personal Prodnet Liability G 730 Labor/Mgint Reporting | 864 SSID Tile XVI O 890 Other Statuory Actions
C1 196 Franchise Inyu: & Disclosure Act a O 891 Agneultaral Acts
MOP! ~ Ser i Foal Cl 740 Railway Labor Act : 5 A é ajo? 892 Economic Stabilization Act
O 210 Land Condemnation 44) Voting 310 Motions ta Vacate 0) 790 Other Lahor Litigation 870 Taxes (U1. Plaintift J 893 Buvironmental Matters
( 220 Foreclosure 442 Employment Sentence 791 Empl. Ret. Inc. or Defendant} 1 894 Energy Allocation Act
C) 230 Rent Lease & Ejectment | 443 Housing/ Habeas Corpus: Sceunity Act G 871 [RS—Third Party 895 Freedom of Information
1) 249 Torts to Land Accommodatious (G 430 General 26 USC 7699 Agel
() 245 Tort Prodnet Liability "1 444 Welfate 1 535 Death Penalty a 13 i GF 900 Appeal of Fee Determinanon
1 290 All Other Real Property [0 445 Amer, w/Disabilities~ |[) 540 Maudaimus & Other a “62 Naturalization Application Under Equal Access
Employment M $50 Civil Righis O 463 Habeas Corpus - to Justice
446 Asmer. w/Disabilities - [C} 555 Prison Condition Alien Detainee G 950 Constitutionality of
Other 0 465 Other hnimigration State Statutes
GQ 440 Other Civil Rights Actious
¥. ORIGIN (Place an “X” in One Box Only) . - Sp eal to District
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Proceeding Siate Court Appellate Court Reopened another as wag isuale

(specify) Litigation Judgment
Cite the U.S. Ciyi) Statute under which you are filing (Do uot cite jurisdictional statutes uniess diversity):
YSiu.s.c SHER S t seq. B ' )

 

VI. CAUSE GF ACTION

 

Brief = of causc:

Alleged violations of the Fair Credit Reporting Act

 

 

 

 

 

 

VL. REQUESTED IN CHECK IF THIS 18 A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: mH ¥es @No
VILE. RELATED CASE(S) _—
IF ANY (See instructions): Hinge DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
01/14/2009 His! Ed Walton

 

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, TUDGE

ee

 
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page 21o0f22 PagelD 21
United States District Court

Northern District of Texas

Supplemental Civil Cover Sheet For Cases Removed
From State Court

This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S,
District Clerk=s Office. Additional sheets may be used as necessary.
1. State Court Information:

Please identify the court from which the case is being removed and specify the number
assigned to the case in that court.

Court Case Number

96" Judicial District Tarrant County, Texas 096-23421-9-08

2. Style of the Case:

Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s),
Crossclaimant(s) and Third Party Claimant(s} still remaining in the case and indicate their
party type. Also, please list the attorney(s) of record for each party named and include their
bar number, firm name, correct mailing address, and phone number (including area code.)

Party and Party Type Attormey(s}
Cindy Lynn Colbert f/k/a Cindy Lynn Colao William L. Manchee
Manchee & Manchee

12221 Merit Drive, Suite 950
Dallas, Texas 75251
Tel: (972) 960-2240

Penncro Associates, Inc. Ed Walton
Barron, Newburger, Sinsley & Wier, PLLC
101 Metro Drive, Suite A
Terrell, Texas 75160
Tel: (713) 335-0141

3. Jury Demand:

Was a Jury Demand made in State Court? * Yes * No
Case 4:09-cv-00030-A Document1 Filed 01/14/09 Page 22 of 22 PagelD 22
Supplemental Civil Cover Sheet
Page 2

If" Yes,” by which party and on what date?

 

 

Party Date

4, Answer:
Was an Answer made in State Court? ® Yes * No

If "Yes," by which party and on what date?

Penncro Associates, Inc. 12/23/08
Party Date

5. Unserved Parties:
The following parties have not been served at the time this case was removed:

Party Reason(s) for No Service

6. Nonsuited, Dismissed or Terminated Parties:

Please indicate any changes from the style on the State Court papers and the reason for that
change:

Party Reason

7. Claims of the Parties:

The filing party submits the following summary of the remaining claims of each party in this

 

litigation:

Party Claim(s)
Plaintiff, Cindy Lynn Colbert Damaged for alleged violations of the
fik/a Cindy Lynn Calao Fair Credit Reporting Act (15 USC

Sect. 1681, et. seq)
